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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )
                                              )             Case No. 8:09CR272
                     Plaintiff,               )
                                              )
       vs.                                    )
                                              )                    ORDER
SHANNON B. JACKSON and                        )
MICHAEL D. MCCROY,                            )
                                              )
                     Defendants.              )


       This case is before the court on several motions, including Michael McCroy's Motion

for Severance of Counts and Parties (#59) and Shannon Jackson's Motion to Sever (#61).

On November 24, 2009 the government filed its Omnibus Brief in Response to Defendants'

Motions (#75). After considering the motions to sever and the government's response, I

find that I am in need of additional evidence before I can rule.

       It appears from the record that the defendant, Shannon Jackson, made “jailhouse”

statements which may reference the defendant Michael McCroy. Because McCroy may

be prejudiced by the admission into evidence against Jackson of statements or confessions

made by Jackson, and because that prejudice cannot be addressed by cross-examination

if Jackson does not take the stand, I direct that the government, under Fed. R. Crim. P.

14(b) shall deliver to me for in camera inspection all statements made by Jackson that the

government intends to use as evidence that implicate the defendant Michael McCroy.

Following the government's submission and my inspection, I will rule on the motions to

sever and, based upon those rulings, set the defendants' remaining motions for hearings.
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      IT IS ORDERED:

      The government shall on or before December 14, 2009, submit for in camera

inspection, any statements or confessions the government intends to use as evidence,

made by the defendant Shannon B. Jackson which implicate the defendant Michael B.

McCroy.

      Dated this 1st day of December 2009.


                                      BY THE COURT:


                                      S/ F. A. Gossett
                                      United States Magistrate Judge




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